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  13
                           UNITED STATES DISTRICT COURT
  14
                         CENTRAL DISTRICT OF CALIFORNIA
  15

  16    IN RE: NATIONAL FOOTBALL                  Case No.: 2:15-ml-02668−PSG
        LEAGUE’S “SUNDAY TICKET”
  17    ANTITRUST LITIGATION                      (JEMx)
  18
                                                  DISCOVERY MATTER
  19
        THIS DOCUMENT RELATES TO                  NOTICE OF MOTION AND
  20    ALL ACTIONS                               MOTION RE PLAINTIFFS’
                                                  MOTION TO COMPEL
  21                                              PRODUCTION OF DOCUMENTS
                                                  BY NBCUNIVERSAL MEDIA,
  22                                              LLC
  23                                              Magistrate Judge: Hon. John E.
                                                  McDermott
  24                                              Date/Time: 7/26/2022, 10:00 a.m.
                                                  Discovery Cutoff Date: 8/5/2022
  25                                              Pretrial-Conference Date: 2/9/2024
                                                  Trial Date: 2/22/2024
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   1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on July 26, 2022, at 10:00 a.m., or as soon
   3   thereafter as this matter may be heard, Plaintiffs, on behalf themselves and all others
   4   similarly situated, will and hereby respectfully move for an order to compel
   5   production of documents by NBCUniversal Media, LLC, related to Plaintiffs’
   6   Subpoena for documents made pursuant to Federal Rule of Civil Procedure 45.
   7         This Motion will be heard in the Courtroom of the Honorable John E.
   8   McDermott for the United States District Court in the Central District of California.
   9   The Court is located at the Roybal Federal Building and United States Courthouse,
  10   255 E. Temple Street, Los Angeles, California 90012, Courtroom 640, 6th Floor.
  11         This Motion is based upon this notice, the concurrently filed joint stipulation,
  12   the exhibits and declarations attached thereto, the pleadings and records on file in this
  13   action and such other matters as the Court deems necessary and proper.
  14         This Motion is made following conferences of counsel pursuant to L.R. 7-3
  15   which took place on May 31, 2022.
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  18   Dated: July 5, 2022                     Respectfully submitted,
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